 Case 2:15-cr-20174-SHL Document 282 Filed 01/21/16 Page 1 of 6                     PageID 567



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
v.                                              )
                                                )
                                                                No. 15-cr-20174-SHL
JOHNNIE WILBORN, JANICE WHITE,                  )
TRAVIS HUSTON and BRITNEY                       )
HUSTON,                                         )
                                                )
       Defendants.                              )

                    ORDER DISMISSING COUNT TWO OF INDICTMENT


       This is a criminal case involving an alleged drug trafficking conspiracy and a conspiracy

to commit money laundering. Before the Court is Defendant Janice White’s Motion to Dismiss,

filed on December 21, 2015. (ECF No. 212.) Defendant’s Motion seeks dismissal of Count Two

of the Indictment, which alleges a conspiracy to commit money laundering in violation of 18

U.S.C. § 1956(h). Defendants Johnnie Wilborn, Travis Huston and Britney Huston have adopted

Ms. White’s Motion, also seeking dismissal of Count Two. (ECF Nos. 213–15.) Defendants

argue that Count Two of the Indictment is insufficient because it does not plainly state what

Defendants are charged with and does not charge Defendants with a crime. The Court agrees.

Defendants’ Motion to Dismiss is hereby GRANTED.

                                        BACKGROUND

       On July 22, 2015, a grand jury in this District returned an indictment charging a number

of Defendants in this case with conspiracy to commit drug trafficking and conspiracy to commit

money laundering. Count One of the Indictment alleges a conspiracy to distribute

methamphetamine in violation of 21 U.S.C. § 846. Count Two of the Indictment alleges a
 Case 2:15-cr-20174-SHL Document 282 Filed 01/21/16 Page 2 of 6                    PageID 568



conspiracy to launder the proceeds of the conspiracy to distribute methamphetamine in violation

of 18 U.S.C. 1856(h). Defendants Wilborn, Travis Huston and Britney Huston are charged

under both counts of the Indictment. Defendant White is only charged under Count Two.

       Count Two of the Indictment states as follows:

              Beginning at a time unknown to the grand jury, but through at least in or
       about July 2015, in the Western District of Tennessee and elsewhere, the
       defendants . . .

               did unlawfully, knowingly and intentionally combine, conspire,
       confederate and agree with each other and with other persons known and
       unknown to the Grand Jury to commit offenses against the United States in
       violation of Title 18, United States Code, Section 1956, to wit:

               (a) to knowingly conduct and attempt to conduct a financial transaction
       affecting interstate and foreign commerce, which involved the proceeds of a
       specified unlawful activity, that is, conspiracy to commit drug trafficking in
       violation of Title 21 U.S.C. 846, with the intent to promote the carrying on of
       specified unlawful activity, that is conspiracy to commit drug trafficking, in
       violation of Title 21 U.S.C. 846, and that while conducting and attempting to
       conduct such financial transaction knew that the property involved in the financial
       transaction represented the proceeds of some form of unlawful activity, in
       violation of Title 18, United States Code, Section 1956(a)(1)(A)(i); and

               (b) to knowingly conduct and attempt to conduct a financial transaction
       affecting interstate and foreign commerce, which involved the proceeds of a
       specified unlawful activity, that is, conspiracy to commit drug trafficking in
       violation of Title 21 U.S.C. 846, knowing that the transactions were designed in
       whole or in part to conceal and disguise the nature, location, source, ownership,
       and control of the proceeds of specified unlawful activity, knew that the property
       involved in the financial transaction represented the proceeds of some form of
       unlawful activity, in violation of Title 18, United States Code, Section
       1956(a)(1)(B)(i); and

               (c) to knowingly conduct and attempt to conduct a financial transaction
       affecting interstate and foreign commerce, which involved the proceeds of a
       specified unlawful activity, that is, conspiracy to commit drug trafficking in
       violation of Title 21 U.S.C. 846, knowing that the transactions were designed in
       whole or in part to avoid a transaction reporting requirement under Federal law,
       and that while conducting and attempting to conduct such financial transaction
       knew that the property involved in the financial transaction represented the
       proceeds of some form of unlawful activity, in violation of Title 18, United States



                                                2
 Case 2:15-cr-20174-SHL Document 282 Filed 01/21/16 Page 3 of 6                        PageID 569



       Code, Section 1956(a)(1)(B); all in violation of Title 18, United States Code,
       Section 1956(h).

(ECF No. 3.)

                                    STANDARD OF REVIEW

       The Federal Rules of Criminal Procedure establish that an indictment “must be a plain,

concise, and definite written statement of the essential facts constituting the offense charged . . .”

Fed. R. Crim. P. 7(c)(1). “The basic Constitutional standard by which to judge the sufficiency of

an indictment is mandated by the Sixth Amendment which requires that the indictment inform

the defendant of ‘the nature and cause of the accusation.’” United States v. Blandford, 33 F.3d

685, 704 (6th Cir. 1994) (quoting United States v. Piccolo, 723 F.2d 1234, 1238 (6th Cir. 1983)).

       Generally, determining whether an indictment is sufficient requires the evaluation of two

criteria: “first, whether the indictment contains the elements of the offense intended to be

charged, and sufficiently apprises the defendant of what he must be prepared to meet, and,

secondly, in case any other proceedings are taken against him for a similar offense whether the

record shows with accuracy to what extent he may plead a former acquittal or conviction.”

Blandford, 33 F.3d at 705 (citing United States v. Gray, 790 F.2d 1290, 1296-97 (6th Cir. 1986)

(internal quotations omitted)). When it comes to the sufficiency of an indictment, reciting

language from the statute “is generally sufficient . . . as long as those words of themselves fully,

directly and expressly, without any uncertainty or ambiguity set forth all the elements necessary

to constitute the offense intended to be punished.” United States v. Hudson, 491 F.3d 590, 593

(6th Cir. 2007) (citing Hamling v. United States, 418 U.S. 87, 117 (1974)).

                                            ANALYSIS

       Defendants argue that Count Two does not sufficiently set out the elements of the crime

with which they are charged and that, therefore, the Indictment does not charge them with a

                                                  3
 Case 2:15-cr-20174-SHL Document 282 Filed 01/21/16 Page 4 of 6                      PageID 570



crime. They base their argument on the open-ended time period during which the Indictment

states that Defendants’ alleged crime occurred and the lack of details concerning their alleged

money laundering transactions. They assert that an indictment for the crime of money

laundering must allege specific, discrete transactions because money laundering is not a

continuing crime. Defendants take the next logical step and argue that a charge of conspiracy to

commit money laundering must then allege specific, discrete transactions as the object of the

conspiracy. Because Count Two fails to do this, Defendants argue, it not only does not provide

adequate notice with which to prepare a defense, but also fails to allege a crime.

       The Government argues that, unlike the crime of money laundering itself, conspiracy to

commit money laundering is a continuing crime and the Government need not allege specific,

discrete acts as the objects of the conspiracy. Because Count Two gives a rough outline of the

time the conspiracy occurred, discusses where the alleged laundered proceeds came from (the

conspiracy to distribute methamphetamine) and lists which substantive provisions of the law that

Defendants conspired to violate (alleging multiple subsections in the conjunctive), the

Government argues that it has met its requirement of putting Defendants on notice of the crime

with which they are charged. The Court disagrees with the Government. Instead, the Court

holds that Count Two is irredeemably vague, so much so that it does not appear to charge

Defendants with a crime, and could not possibly allow Defendants to prepare an adequate

defense. As such, it is DISMISSED.

       To judge the sufficiency of Count Two, the Court must first look to what a sufficient

indictment for conspiracy to commit money laundering must allege. An indictment charging a

conspiracy to commit money laundering must allege that a defendant “agreed with another

person to violate the substantive provisions of the money-laundering statute during the period



                                                 4
 Case 2:15-cr-20174-SHL Document 282 Filed 01/21/16 Page 5 of 6                       PageID 571



alleged in the indictment.” United States v. Hynes, 467 F.3d 951, 964 (6th Cir. 2006). The

crime of conspiracy to commit money laundering may be alleged as a continuing crime. United

States v. Robertson, 67 F. App’x 257, 269 (6th Cir. 2003). However, in this Circuit, as in others,

the substantive crime of money laundering cannot be alleged as a course of conduct, “in such

cases[,] the government must allege and prove specific, discrete financial transactions.” Id.

(citing United States v. Marshall, 248 F.3d 525, 540 (6th Cir. 2001)); see also United States v.

Gray, 101 F. Supp. 2d 580, 585–88 (E.D. Tenn. 2000) (collecting cases holding that money

laundering cannot be alleged as a continuing course of activities). Thus, in order to properly

allege a conspiracy to commit money laundering, even if the conspiracy itself constitutes a

course of conduct, an indictment must allege that a defendant conspired to engage in “specific,

discrete financial transactions” that violate the substantive provisions of 18 U.S.C. § 1956(a).

See Robertson, 67 F. App’x at 269.

       Here, the Indictment provides an open-ended time period, beginning with a period

unknown to the jury and ending in July 2015, during which either an alleged conspiracy by

Defendants to launder money took place and/or the discrete money laundering transactions

occurred. Defendants are left to guess at what this broad swath of time refers to. In addition, by

alleging multiple subsections of 18 U.S.C. 1956(a) as having been violated, all alleged in the

conjunctive and simply tracking the language of the statute, the Government further adds to the

conclusion that the object of the conspiracy is also a course of conduct, not a specific transaction.

While using the language of a statute in an indictment is certainly permissible as a general rule,

the indictment must still always allege all elements of the crime and inform the defendant of the

crime charged. Because of the language used here, this Indictment appears to allege that both the

conspiracy and the object of the conspiracy were continuing crimes. As money laundering itself



                                                 5
 Case 2:15-cr-20174-SHL Document 282 Filed 01/21/16 Page 6 of 6                         PageID 572



is not a continuing crime, and a conspiracy to launder money must adequately allege the

underlying money laundering crime, Count Two fails to describe a crime with which Defendants

can be charged. As this Court has previously noted,

                 [w]hat this lack of clarity and precision in the [indictment] reveals is that,
        while mere pleading of the statute in an indictment is typically sufficient to put a
        defendant on notice of the charges against her, in this specific instance more is
        required because of the conflicting nature of the actions that can constitute
        violations of § 1956(a) and those that can constitute violations of § 1956(h). The
        muddled nature of [the count in the indictment] fails to do that which an
        indictment is required to do under Federal Rule of Criminal Procedure 7(c)(1),
        that is, to provide [a defendant] with a “plain, concise, and definite written
        statement of the essential facts constituting the offense charged.”

United States v. Wright, 2:14-cr-20104-SHL (W.D. Tenn., Mar. 12, 2015). As in Wright, the

Government’s failure to adequately put Defendants on notice of their alleged crimes dooms its

case.

                                           CONCLUSION

        For the forgoing reasons, Count Two of the Indictment is hereby DISMISSED.

        IT IS SO ORDERED, this 21st day of January, 2016.

                                                    s/ Sheryl H. Lipman
                                                    SHERYL H. LIPMAN
                                                    UNITED STATES DISTRICT JUDGE




                                                   6
